 Case 3:22-cv-00597-BJD-JBT Document 5 Filed 05/27/22 Page 1 of 1 PageID 31




                   IN THE UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF FLORIDA
                           TALLAHASSEE DIVISION

STEPHEN D. DOHM,

      Plaintiff,

v.                                            Case No.: 4:22cv165-MW/MJF

MRS. CURRY, et al.,

     Defendants.
___________________________/

                        ORDER ACCEPTING AND ADOPTING
                         REPORT AND RECOMMENDATION

      This Court has considered, without hearing, the Magistrate Judge's Report

and Recommendation. ECF No. 4. Upon consideration, no objections having been

filed by the parties,

      IT IS ORDERED:

      The report and recommendation, ECF No. 4, is accepted and adopted as this

Court’s opinion. This case is TRANSFERRED to the United States District Court

for the Middle District of Florida. The Clerk shall take all steps necessary to effect

the transfer and close the file.

      SO ORDERED on May 27, 2022.

                                       s/Mark E. Walker                   ____
                                       Chief United States District Judge
